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COMMONWEALTH OF MAS SACHUSETTS

HAMPDEN, SS. DEPARTMENT OF THE
TRIAL COURT
HOLYOKE DIVISION
Docket No. 1017CR3184

COMMONWEALTH )
)

)

Vv. )

)

)

Jeffery Asher )
)

 

SENTENCING MEMORANDUM

On February 28, 2012, a jury of six men and women unanimously returned a verdict of
Guilty on one count of Assault and Battery with a Dangerous Weapon and one count of Assault
and Battery. The defendant is Jeffrey Asher, a former police officer for the City of Springfield.
The victim of the assault is Melvin Jones. Sentencing was postponed until today in order for the
court to be the beneficiary of a pre-sentence investigation report.

Given the verdict of the jury, [am now required to sentence the defendant according to
the law. The Legislature has set out the parameters for which this sentence must fit within
ranging from straight probation up to and including incarceration in the House of Corrections for
up to 2 and % years on each count

It has been said many times that there are several goals of sentencing such as to protect
the public from future harm, to punish the defendant for breaking the law; to reflect the
seriousness of the offense; to rehabilitate the defendant, and to deter others from breaking the
law in the future.

It is my responsibility to try to balance those differing goals with each other to render a
sentence that does justice for the defendant, the victim, and society as a whole. This is not often
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an easy task and I can say in this particular case, it has been a long struggle and a difficult process
to determine what justice requires and demands in this instance.

When the defendant Jeffrey Asher became a member of the Springfield Police
Department, he took and oath to “protect and serve” ALL citizens of the Commonwealth. This,
too, is not often an easy task and yet one that is taken on by members of law enforcement here in
the Commonwealth and nationwide. They take this oath seriously and make great personal
sacrifices to protect the public from harm and to ensure that the laws of the Commonwealth are
upheld. Without a doubt, the job of a police officer is no easy task.

On November 27, 2009, the defendant dressed as a member of the Springfield Police
Department, but clearly as evidenced by the unanimous verdict of his peers, he did not uphold his
oath to “protect and serve.” Instead, his actions as clearly evidenced by the facts of trial and the
verdict of the jury, shows that he did just the opposite. In short, he committed the criminal acts
of assault and battery and assault and battery with a dangerous weapon, causing serious and
permanent injuries to the victim.

In mitigation of his actions, I have read countless letters of support from the defendant’s
family, friends, and community all of whom portray an individual best described as a family man,
a protector of the Country having served active military duty, and a reliable and trustworthy
friend. I have read all of these letters, many letters I have read more than once and have seen
glimpses of an individual who has done many kind acts for family, friends, and total strangers
with nothing in return. In short, both defense counsel and the letters aptly point out to many
positive attributes of Jeffrey Asher’s personality. And, I would also note that the defendant
comes before the court with no criminal history, this being his only conviction on his record.

The court in not unmindful of the fact that unlike the defendant, that the victim, Melvin

Jones, had a significant criminal history of serious offenses. The prosecutor characterized the
victim as not being an “angel” and surely that can be agreed. However, it is important to note
that not one of the Springfield Police Officers, including the defendant Jeffrey Asher, had any
knowledge whatsoever of this fact prior to acting in the manner that they did. To the defendant,
and his fellow officers, this was a stop for a civil motor vehicle infraction in which an unknown
individual attempted to escape a pat frisk. That is all of the information that they were armed
with. Period.

Second, I have received scores of letters from supporters of the defendant, in essence
asking me to weigh the fact that, in so many words, Melvin Jones was not a contributing
member of society, while Jeffery Asher was a Marine, an Officer, and a family man. It would be
inappropriate for me to take this into consideration as it somehow would suggest that the laws
that everyone are required to uphold apply in different degrees based upon the “value” of the
victim or the defendant. Our system of justice simply cannot tolerate this attitude.

Instead, the focus is and should be on the defendant, Jeffrey Asher. This record evidence
is that the defendant, while in full uniform symbolizing our very system of laws and order,
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inflicted serious and permanent injury to an unarmed individual. The unanimous verdict of six
members of the community rejected any claim of justification or defense of self or others. His
force was not reasonable said the jury—it was excessive and it was criminal. The crimes
committed were severe and serious and I must take that into consideration.

Based upon all of the relevant factors, I hereby sentence the defendant Jeffery Asher to
the following:

Count I-Assault and Battery: 1 year to the House of Correction to be served direct
(concurrent with Count IT)

Count IJ—Assault and Battery with a Dangerous Weapon: 2 and % years to the House of
Correction; 18 months direct balance suspended for 2 years; Mental Health Evaluation and
Treatment if deemed necessary; Anger Management Evaluation and Treatment if deemed
necessary; and the continuance of PTSD counseling. A mandatory 90 Victim Witness Fee
Assessment and a monthly Probation Supervision of $65 is required.

Mdureen E. Walsh
Presiding Justice

Holyoke District Court

March 28, 2012
